                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:07CV517-02-MU
                          (3:03CR200-2-MU)


JOLLIET KELLY, JR.,           )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon an initial review of

the petitioner’s “Motion To Vacate, Set Aside, Or Correct Sen-

tence” under 28 U.S.C. §2255, all filed December 7, 2007.             For

the reasons stated herein, the petitioner’s Motion to Vacate will

be summarily denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on April

27, 2004, a Superceding Bill of Indictment was filed, charging

the petitioner (and another person) with conspiring to possess

with intent to distribute, and to distribute 50 grams or more of

cocaine base, in violation of 21 U.S.C. §§ 846 and 841 (Count

One); with possessing with intent to distribute more than 50

grams of cocaine base, in violation of 21 U.S.C. §841 (Count

Two); with using and carrying a firearm during and in relation to

a drug trafficking crime, and possessing the subject firearm in

furtherance of a drug trafficking crime, all in violation of 18




   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 1 of 11
U.S.C. §924(c)(1) (Count Three); and with having unlawfully

possessed the subject firearm after previously having been a

convicted of two felony offenses, all in violation of 18 U.S.C. §

922(g)(1) (Count Five).

     Although the petitioner initially pled “not guilty” to that

charge, on April 17, 2005, he entered into a written Plea Agree-

ment with the government.      By the terms of that Agreement, the

petitioner agreed to plead guilty to Count One from the Indict-

ment in exchange for the government’s promise to dismiss the

remaining charges.    The Agreement further provided that upon his

conviction, the petitioner would face “no fewer than 20 years and

no more than life imprisonment . . .”; that the amount of cocaine

base for which the petitioner could be held accountable was “at

least 50 grams but less than 150 grams”; and that the correspond-

ing Base Offense Level for that offense was 32.          In addition, the

government promised to withdraw its Notice a the sentencing en-

hancement pursuant to 21 U.S.C. §851 during the petitioner’s

Sentencing Hearing.

     On April 18, 2005, the petitioner appeared before the Court

for his Plea and Rule 11 Hearing.       On that occasion, the Court

engaged the petitioner in its standard, lengthy colloquy to

ensure that his guilty plea was being intelligently and volun-

tarily tendered.   After placing the petitioner under oath and

hearing his answers to all of its questions, the Court determined


                                    2


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 2 of 11
that the petitioner’s guilty plea was knowingly and freely made.

At the conclusion of that proceeding, the petitioner and his

attorney signed the “Entry and Acceptance of Guilty Plea . . .”

form, and the Court conditionally accepted the guilty plea.

     Next, on December 13, 2006, the Court held the petitioner’s

Factual Basis and Sentencing Hearing.        At the beginning of that

Hearing, the petitioner reaffirmed certain of the representations

which he had made during his Plea Hearing, including that he had

freely and voluntarily entered his guilty plea.          Thus, after

hearing the petitioner’s affirmations, and noting the petition-

er’s stipulation to the existence of a factual basis as set forth

in his Plea Agreement, the Court found that the petitioner’s

guilty plea was proper, and it unconditionally accepted the same.

     Thereafter, the Court entertained defense counsel’s argu-

ments from his Sentencing Memorandum.        Relevant here, counsel

asked the Court to give the petitioner credit on his federal

sentence for the time which he already had served in State prison

for the same criminal conduct.      However, the Court found that it

had no authority to reduce the petitioner’s statutory mandatory

minimum 20-year sentence.

     However, the Court agreed with counsel and rejected the

managerial enhancement which was recommended in the petitioner’s

Pre-Sentence Report, and instead determined that the his Total

Offense Level was 34, his Criminal History Category was VI and


                                    3


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 3 of 11
that his corresponding range of imprisonment under the U.S.

Sentencing Guidelines was 262 to 327 months imprisonment. Never-

theless, after the government withdrew its §851 notice, the Court

sentenced the petitioner to the slightly lower statutory term of

240 months imprisonment.

     The petitioner did not appeal either his conviction or his

sentence.    Rather, after waiting just days before the one year

anniversary of his sentencing, on December 10, 2007, the peti-

tioner filed the instant Motion to Vacate under 28 U.S.C. §2255.

In his Motion, the petitioner argues that his 240-month sentence

both is multiplicative and duplicitous of the 35 to 42 month

sentence which he received for the same conduct in the North

Carolina State Court system.         Next, the petitioner argues that

his federal prosecution violated the Double Jeopardy Clause of

the Fifth Amendment.    Last, the petitioner argues that his

attorney was ineffective for having failed to raise the foregoing

claims on his behalf.

     Notwithstanding his obvious beliefs to the contrary, how-

ever, the Court has determined that the petitioner’s claims are

defeated by the underlying record, and the relevant precedent.

                               II.    ANALYSIS

            1. This Court is authorized to promptly
               review and dismiss any §2255 motion
               which does not contain a claim that
               entitles the petitioner to relief.

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

                                       4


   Case 3:03-cr-00200-GCM-CH    Document 75      Filed 12/20/07   Page 4 of 11
Proceedings, sentencing courts are directed to promptly examine

motions to vacate, along with “any attached exhibits and the

record of prior proceedings . . . “ in order to determine whether

the petitioner is entitled to any relief on the claims set forth

therein.    In the event it is determined that the petitioner is

not entitled to relief, the reviewing Court must dismiss the

motion.

     Following such directive, this Court has carefully reviewed

the petitioner’s Motion to Vacate and the pertinent record

evidence.    As hereafter explained, such review clearly establish-

es that the petitioner is not entitled to relief on any of his

claims.

            2.   The petitioner’s non-counsel related
                 claims are procedurally defaulted.

     By his first through third claims, the petitioner argues

that his sentence is multiplicative and duplicitous, and that his

prosecution violated the Double Jeopardy Clause.          However, as has

been noted already, the petitioner did not pursue a direct appeal

at which he could have raised these claims.

     In United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th

Cir. 1999), cert. denied, 529 U.S. 1010 (2000), the Court point-

ed out that “[i]n order to collaterally attack a conviction or

sentence based upon errors that could have been but were not

pursued on direct appeal, the movant must show cause and actual

prejudice resulting from the errors of which he complains[,] or

                                    5


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 5 of 11
he must demonstrate that a miscarriage of justice would result

from the refusal of the court to entertain the collateral at-

tack.”   Id., citing United States v. Frady, 456 U.S. 152 (1982);

see also Bousley v. United States, 523 U.S. 614, 621 (1998)

(failure to challenge matter on direct appeal, absent certain

compelling circumstances, bars collateral review of same); and

Stone v. Powell, 428 U.S. 465, 477 n.10 (1976).

     Here, the petitioner has defaulted the subject claims, and

has not even hinted at any explanation which could establish

either “cause and prejudice” for that default, or that a mis-

carriage of justice would occur in the event his claims are not

reached.   Consequently, the petitioner’s first, second and third

claims must be summarily rejected as defaulted.

           3.   The petitioner’s claim that counsel was
                ineffective also must be flatly rejected.

     With respect to claims of ineffective assistance of counsel,

a petitioner must show that counsel's performance was constitu-

tionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby.

Strickland v. Washington, 466 U.S. 668, 687-91 (1984).            In making

this determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

                                    6


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 6 of 11
1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Under these circumstances, the petitioner “bears the burden

of proving Strickland prejudice.”       Fields, 956 F.2d at 1297,

citing Hutchins, 724 F.2d at 1430-31.        If the petitioner fails to

meet this burden, a “reviewing court need not consider the per-

formance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     Moreover, in considering the prejudice prong of the analy-

sis, the Court must not grant relief solely because the

petitioner can show that, but for counsel’s performance, the

outcome of the proceeding would have been different.           Sexton v.

French, 163 F.3d 874, 882 (4th Cir. 1998), cert. denied, 528 U.S.

855 (1999).    Rather, the Court “can only grant relief under

. . . Strickland if the ‘result of the proceeding was fundamen-

tally unfair or unreliable.’” Id., quoting Lockhart v. Fretwell,

506 U.S. 364, 369 (1993).

     More critically, inasmuch as this petitioner has alleged in-

effective assistance of counsel following the entry of his guilty

plea, he has a different burden to meet.        See Hill v. Lockhart,

474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S.

843 (1988).    The Fourth Circuit described the petitioner’s burden


                                    7


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 7 of 11
in a post-guilty plea claim of ineffective assistance of counsel

as follows:

          When a [petitioner] challenges a conviction
          entered after a guilty plea, [the] “prejudice
          prong of the [Strickland] test is slightly
          modified. Such a defendant must show that
          there is a reasonable probability that, but
          for counsel’s errors, he would not have
          pleaded guilty and would have insisted on
          going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.            Criti-

cally, however, if a petitioner fails to meet his burden of

demonstrating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.   Thus, “the central inquiry” is whether, but for

counsel’s alleged errors, this petitioner would have insisted on

a trial, Slavek v. Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005)

(summarily rejecting claims of ineffectiveness on prejudice prong

based on petitioner’s failure and inability to argue that but for

alleged errors, he would have insisted on trial or entered a

different guilty plea).    Courts have stated that this inquiry is

an “objective one based on whether going to trial might reason-

ably have resulted in a different outcome.”         Martin v. United

States, 395 F. Supp. 2d 326, 329 (D.S.C. 2005).          See also Beck v.

Angelone, 261 F.3d 377, 396 (4th Cir. 2001) (finding that in

light of overwhelming evidence of guilt and lack of available

defenses, petitioner could not establish prejudice under the

                                    8


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 8 of 11
modified “reasonable probability” standard); and Burket v.

Angelone, 208 F.3d 172, 190-91 (4th Cir. 2000) (same).

     Here, this Court notes that the petitioner has not even

bothered to assert or to hint that but for counsel’s alleged in-

effectiveness, he would have insisted upon going to trial in this

matter.   This failure is enough, standing alone, to justify the

dismissal of this claim against counsel.

     Further, as to the evidence of the petitioner’s guilt and

the lack of available defenses, the Court notes that the peti-

tioner, as he has argued, was convicted of the identical conduct

in a State superior court.     Therefore, such information would

have been strong evidence of his guilt for the prosecution, and

likely would have greatly impaired the petitioner’s ability to

credibly defend his conduct in a trial before this Court.             Fur-

thermore, the Court is aware that by pleading guilty, the

petitioner secured a three-point reduction in his offense level

under USSG §3E1.1(a), and avoided the potential for additional

convictions and sentences for the other charges which were

pending in his Indictment.

     Consequently, on this record, the petitioner cannot meet his

burden of establishing a reasonable probability that going to

trial might have resulted in a more favorable outcome for him.

Rather, this record suggests that but for counsel’s alleged

error, a reasonable defendant likely still would have pled guilty


                                    9


   Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 9 of 11
and attempted to secure a favorable recommendation from the

government in exchange for his cooperation.        See, e.g., Braxton

v. United States, 358 F. Supp. 2d 497, 505 (W.D. Va. 2005)

(declining to “evaluate the merits” of claim of ineffectiveness

and instead finding no prejudice in absence of assertion that

petitioner would have insisted on trial where evidence of guilt

was overwhelming, thereby making it likely that petitioner would

have pled guilty and sought favorable motion from the govern-

ment); see also United States v. Jackson-Bey, 302 F. Supp. 2d

621, 630 (E.D. Va. 2004) (finding “flatly unsupportable”

petitioner’s assertion that but for counsel’s failure to advise

him of the holding in Bailey v. United States, 516 U.S. 137

(1995) he would have insisted upon a trial, when Bailey worked

against petitioner’s position).

     Finally, it has not escaped the Court’s attention that the

petitioner’s claim against counsel is legally baseless.            That is,

the law is well settled that prosecution in both federal and

state court for exactly the same criminal conduct is not double

jeopardy or any other violation of federal law.         See, e.g., Heath

v. Alabama, 474 U.S. 82, 88 (1985); Abbate v. United States, 359

U.S. 187 (1959); United States v. Jackson, 327 F.3d 273, 295 (4th

Cir.), cert. denied, 540 U.S. 1019 (2003).        Therefore, because

the petitioner’s rights actually were not violated as he has

alleged, his former attorney could not possibly have been inef-


                                   10


  Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 10 of 11
fective for wisely having chosen not to raise any such challenge

before this Court.   Ultimately, then, the petitioner’s claim

against counsel must be rejected.

                          III.   CONCLUSION

     The petitioner has procedurally defaulted three of his four

claims and, as to his final claim, he has failed to establish

either ineffective performance or prejudicial result. Therefore,

Rule 4(b) of the Rules Governing Section 2255 Proceedings

requires this Court to dismiss the instant Motion to Vacate.

                               V. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.



                                        Signed: December 20, 2007




                                   11


  Case 3:03-cr-00200-GCM-CH   Document 75   Filed 12/20/07   Page 11 of 11
